             Case 1:21-cv-00040-CJN Document 59 Filed 01/12/22 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                         )
 VOTING SYSTEMS, INC., and DOMINION                  )
 VOTING SYSTEMS CORPORATION,                         )
                                                     )
         Plaintiffs,                                 )
                                                     )
               v.                                    )   Case No. 1:21-cv-00040-CJN
                                                     )
 SIDNEY POWELL, SIDNEY POWELL,                       )
 P.C., and DEFENDING THE REPUBLIC,                   )
 INC.,                                               )
                                                     )
        Defendants.                                  )

                   CONSENT MOTION TO EXTEND TIME
            TO REPLY TO COUNTER-PLAINTIFFS’ OPPOSITION TO
         COUNTER-DEFENDANTS’ MOTION TO DISMISS COUNTERCLAIM

        Pursuant to Local Rule 7 and Fed. R. Civ. P. 6(b), US Dominion, Inc., Dominion Voting

Systems, Inc., and Dominion Voting Systems Corporation (“Counter-Defendants”) respectfully

move to extend the time for them to reply to Counter-Plaintiffs’ Opposition to Counter-

Defendants’ Motion to Dismiss Counterclaim, filed by Defendants Sidney Powell, Sidney Powell,

P.C., and Defending the Republic, Inc. (“Counter-Plaintiffs”) (ECF No. 58) by four days.

Currently, Counter-Defendants’ reply is due January 14, 2022. The relief requested would extend

that deadline to January 18, 2022. Pursuant to Local Rule 7(m), the parties’ counsel conferred

about the proposed extension, and Counter-Plaintiffs do not oppose this motion.

        In support of this motion, Counter-Defendants state as follows:

        1.          Pursuant to the Court’s November 24, 2021 Minute Order, the deadline for

Counter-Defendants’ reply is January 14, 2022.




10294774v1/016952                                1
             Case 1:21-cv-00040-CJN Document 59 Filed 01/12/22 Page 2 of 4




        2.       Pursuant to Paragraph 9(b)(iv)–(v) of this Court’s standing order, the requested

relief would not affect any other deadlines (i.e., no scheduling order has yet been entered and no

hearings are set).

        3.       Pursuant to Paragraph 9(b)(vi) of this Court’s standing order, Counter-Plaintiffs do

not oppose this Motion.

        4.       Pursuant to Paragraph 9(b)(iii) of this Court’s standing order, Counter-Defendants

seek the requested extension for the following good cause:

             Lead counsel for Counter-Defendants, Mary Kathryn Sammons, is drafting the reply.
              Her 12 year old dog experienced a medical emergency over the weekend of January
              8, 2022, including seizures, that has taken substantial time to address. Yesterday, the
              dog’s veterinarian diagnosed the dog with pancreatitis or pancreatic cancer. As a
              result, Counter-Defendants require an additional four days (including the weekend) to
              finalize the reply.
             Defendants will not be prejudiced, and the case will not be delayed by, Plaintiffs’
              requested extension. As the Court directed on September 30, 2021, the parties in this
              and other related cases are conferring over the proposed terms of a Joint Scheduling
              Order. (9/30/2021 Minute Order.) No Joint Scheduling Order has yet been entered
              although the parties will shortly file Joint Status Reports that propose deadlines.

        5.       Counter-Defendants respectfully submit that the foregoing constitutes good cause

for an extension under Fed. R. Civ. P. 6(b)(1) (“[w]hen an act may or must be done within a

specified time, the court may, for good cause, extend the time”), that they do not seek these

enlargements for purpose of delay or frustration of the progress of this matter, and that the

respective enlargements would not unduly burden the opposite parties.

        WHEREFORE, Counter-Defendants respectfully ask this Court to extend until January 18,

2022 the time for Counter-Defendants to respond to Counter-Plaintiffs’ Opposition to Counter-

Defendants’ Motion to Dismiss Counterclaim (ECF No. 55).




10294774v1/016952                                  2
          Case 1:21-cv-00040-CJN Document 59 Filed 01/12/22 Page 3 of 4




Dated: January 12, 2022                         BY:    SUSMAN GODFREY LLP

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10294774v1/016952                           3
          Case 1:21-cv-00040-CJN Document 59 Filed 01/12/22 Page 4 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of January 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                     /s/ Mary Kathryn Sammons
                                                     Mary Kathryn Sammons




10294774v1/016952                                4
